Case: 4:15-cv-01704-RWS Doc. #: 426 Filed: 11/10/20 Page: 1 of 8 PageID #: 16388




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION


J.Y.C.C., et al.,                                    )
                                                     )
                Plaintiffs,                          )
                                                     )
        v.                                           )   No. 4:15-CV-1704-RWS
                                                     )
Doe Run Resources Corporation, et al.,               )
                                                     )
                Defendants.                          )


                              CASE MANAGEMENT ORDER NO. 8

    IT IS HEREBY ORDERED that the parties joint proposed amended case management

order [422] is adopted and the following case management deadlines will apply in this matter:


    I. SCHEDULING PLAN

        A.      Plaintiffs’ Production of Plaintiff Fact Sheets for Groups J-K

        No later than November 30, 2020, Plaintiffs shall produce verified and notarized fact

sheets for all Group J Plaintiffs.

        No later than December 31, 2020, Plaintiffs shall produce verified and notarized fact sheets

for all Group K Plaintiffs.

        To the extent Plaintiffs have provided or will provide only unnotarized versions of Group

J or Group K fact sheets, Plaintiffs shall serve notarized copies of any previously unnotarized fact

sheets in Group J by December 31, 2020, and Group K by January 31, 2021.

        If an individual Plaintiff fails to produce a fact sheet by the stated deadline, Defendants’

counsel shall confer with Plaintiff’s counsel in an attempt to resolve the deficiency. If an

accommodation cannot be reached Defendants’ counsel may file a Motion to Show Cause why the

Plaintiff’s case should not be dismissed with prejudice. The individual Plaintiff will then have
Case: 4:15-cv-01704-RWS Doc. #: 426 Filed: 11/10/20 Page: 2 of 8 PageID #: 16389




thirty days to respond to the Motion to Show Cause. A failure to respond to the Motion to Show

Cause within the required period of time shall lead to the dismissal of the case with prejudice,

except for good cause shown.



        B.      Medical, Educational and Employment Records of the Initial Trial Pool
                Plaintiffs

        Plaintiffs have produce some, but not all, medical, educational and employment records

for the 120 Plaintiffs in the Initial Trial Pool. Plaintiffs shall complete their production of medical,

educational and employment records for the 120 Plaintiffs in the Initial Trial Pool by no later than

December 31, 2020. Plaintiffs shall make good faith efforts to produce records, to the extent they

are available, on a rolling basis as they are collected. In the event that medical, educational and/or

employment records do not exist for a certain Plaintiff, Plaintiffs shall provide a certification

confirming as such in the form agreed to by the parties by the December 31, 2020 deadline.

        If any Initial Trial Pool Plaintiff fails make a complete records production or produce no-

records certifications by this deadline, Defendants’ counsel shall confer with Plaintiff’s counsel in

an attempt to resolve the deficiency. If an accommodation cannot be reached Defendants’ counsel

may file a Motion to Show Cause why the Plaintiff’s case should not be dismissed without

prejudice. The individual Plaintiff will then have thirty days to respond to the Motion to Show

Cause. A failure to respond to the Motion to Show Cause within the required period of time shall

lead to the dismissal of the case with prejudice, except for good cause shown.

        Plaintiffs will continue using the authorizations approved by the Court on August 8, 2019

[Doc. 352] for all future medical and educational record requests. All new records obtained

through the Court-ordered authorizations shall be produced with a load file that includes facility




                                                   2
Case: 4:15-cv-01704-RWS Doc. #: 426 Filed: 11/10/20 Page: 3 of 8 PageID #: 16390




information and indicate whether the record was obtained by using the Reid authorization or the

authorization ordered by the Court on August 8, 2019.

        Medical, educational and employment records for non-trial-pool Plaintiffs need not be

produced until further order of the court. A schedule for the production of records for non-initial

trial pool Plaintiffs will be established by the Court at a later date.

        C.      Selection of the Initial Discovery Cohort

        Twenty-eight of the 120 initial trial pool Plaintiffs will be included in the initial discovery

cohort; Plaintiffs shall choose 14 and Defendants shall choose 14. Plaintiffs have already made

their initial 14 Initial Discovery Cohort Selections. Defendants must notify the Court and opposing

counsel of their selected Plaintiffs by February 26, 2021. Those Plaintiffs must answer

interrogatories and produce documents by April 30, 2021.

        Plaintiffs will produce neuropsychology and pediatric expert findings for the 14 Initial

Discovery Cohort Plaintiffs selected by Plaintiffs by February 26, 2021. Plaintiffs will produce

neuropsychology and pediatric expert findings for the 14 Initial Discovery Cohort Plaintiffs

selected by Defendants by May 7, 2021. Depositions of Initial Discovery Cohort Plaintiffs, family

members, and caregivers will begin May 10, 2021. The process regarding depositions of Non-

Discovery Cohort Plaintiffs will be established by the Court at a later date. Fact discovery for the

Initial Discovery Cohort Plaintiffs ends September 29, 2021.

        D. Selection of the Initial Expert Discovery Cohort

        The parties agree that two weeks after the completion of fact discovery, the parties will

narrow the pool of Initial Discovery Cohort Plaintiffs down to 16 for expert discovery (the “Initial

Expert Discovery Cohort”). Plaintiffs shall choose eight and Defendants shall choose eight.

        Plaintiffs must notify the Court and opposing counsel of their selections by no later than



                                                   3
Case: 4:15-cv-01704-RWS Doc. #: 426 Filed: 11/10/20 Page: 4 of 8 PageID #: 16391




October 15, 2021, two weeks upon conclusion of discovery with respect to the Initial Discovery

Cohort. Defendants must notify the Court and opposing counsel of their selections by no later

than October 22, 2021.

    II.   OTHER PRE-TRIAL DEADLINES


 Event                           Deadline

 Referral to Alternative         30 days after ruling
 Dispute Resolution              on dispositive and
                                 Daubert motions.
 Completion of ADR               90 days after ADR
                                 referral deadline.
 Plaintiffs’ deadline to         November 19, 2021
 designate all merits experts
 and provide opposing counsel
 and any pro se parties with all
 information specified in Fed.
 R. Civ. P. 26(a)(2)

 The parties shall meet and      December 1, 2021
 confer to set a schedule by
 which these expert
 depositions shall be
 conducted.

 If the parties are unable to   December 1, 2021
 reach an agreement, they
 shall notify the Court in
 writing, and report the nature
 of the dispute. The report
 must include the names of
 each expert and the
 exclusionary dates, so the
 Court may set a final schedule
 at the conference.




                                              4
Case: 4:15-cv-01704-RWS Doc. #: 426 Filed: 11/10/20 Page: 5 of 8 PageID #: 16392




 Event                               Deadline

 Plaintiffs shall make their         December 3, 2021
 expert witnesses available for
 deposition

 Depositions of Plaintiffs’          February 4, 2024
 expert witnesses will be
 completed.

 Defendants shall notify             February 14, 2022
 Plaintiffs of the identity of the
 Rule 35 examiners and the
 scope of the examinations.

 Any objections to the scope of      February 25, 2022
 the examinations shall be
 made to the Defendants.

 If the parties are unable to        March 1, 2022
 reach an agreement as to the
 scope of the Rule 35
 examinations, they shall
 notify the Court in writing,
 and report the nature of the
 dispute.

 Plaintiffs shall make Expert        March 14, 2022
 Discovery Cohort Plaintiffs
 available for IMEs

 IMEs of Expert Discovery            June 17, 2022
 Cohort Plaintiffs will be
 completed

 Defendants’ deadline to             August 17, 2022
 designate all merits experts
 and provide opposing
 counsel and any pro se
 parties with all information
 specified in
 Fed. R. Civ. P. 26(a)(2)


                                                 5
Case: 4:15-cv-01704-RWS Doc. #: 426 Filed: 11/10/20 Page: 6 of 8 PageID #: 16393




 Event                           Deadline

 The parties shall meet and      August 24, 2022
 confer to set a schedule by
 which these expert
 depositions shall be
 conducted.

 If the parties are unable to    August 24, 2022
 reach an agreement, they
 shall notify the Court in
 writing, and report the
 nature of the dispute. The
 report must include the
 names of each expert and the
 exclusionary dates, so the
 Court may set a final
 schedule at the conference.

 Defendants shall make their    September 7, 2022
 expert witnesses available for
 depositions

 Depositions of Defendants’      November 21, 2022
 expert witnesses will be
 completed.

 Plaintiffs’ deadline to         November 28, 2022
 designate all rebuttal expert
 witnesses and provide their
 reports

 The parties shall meet and      December 9, 2022
 confer to set a schedule by
 which these expert
 depositions shall be
 conducted.




                                            6
Case: 4:15-cv-01704-RWS Doc. #: 426 Filed: 11/10/20 Page: 7 of 8 PageID #: 16394




 Event                           Deadline

 If the parties are unable to    December 9, 2022
 reach an agreement, they
 shall notify the Court in
 writing, and report the
 nature of the dispute. The
 report must include the
 names of each expert and
 any exclusionary dates, so
 the Court may set a final
 schedule at the conference.

 Plaintiffs shall make any       December 19, 2022
 rebuttal expert witnesses
 available for depositions.

 Deadline to complete            January 20, 2023
 depositions of Plaintiffs’
 rebuttal experts

 Close of expert discovery       January 20, 2023

 Deadline to file dispositive    March 10, 2023
 motions

 Deadline to file Motions to     March 10, 2023
 Limit or Exclude Expert
 Testimony

 Deadline to file responses to   April 21, 2023
 any dispositive motions

 Deadline to file responses to   April 21, 2023
 Motions to Limit or Exclude
 Expert Testimony

 Deadline to file replies in     May 19, 2023
 support of any dispositive
 motions




                                             7
Case: 4:15-cv-01704-RWS Doc. #: 426 Filed: 11/10/20 Page: 8 of 8 PageID #: 16395




 Event                               Deadline

 Deadline to file replies in         May 19, 2023
 further support of Motions
 to Limit or Exclude Expert
 Testimony


    III. TRIAL DEADLINES
        Pre-trial and trial-related deadlines will be set by further order of the Court after the

completion of briefing on dispositive and other pre-trial motions.




   IV. QUARTERLY STATUS CONFERENCES

         The Court shall hold regular status conferences on dates to be established by the parties in

consultation with the Court. Unless otherwise ordered above, one week before each conference,

counsel shall file a joint status report informing the Court of any matters that should be discussed

at the conference.




                                                _________________________________________
                                                RODNEY W. SIPPEL
                                                UNITED STATES DISTRICT JUDGE

Dated this 10th of November, 2020.




                                                  8
